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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JACK D. DENTON,

              Plaintiff,

v.



AMY HECHT, Vice President for
Student Affairs at Florida State
University, in her official and
individual capacities; BRANDON         Civil Case No 4:20-cv-00425-AW-
BOWDEN, Interim Director of the                      MAF
Department of Student
Government & Advocacy at
Florida State University, in his
official and individual capacities;
AHMAD O. DARALDIK, Former
President of the Student Senate of
Florida State University, in his
individual capacity.

            Defendant(s).



     PLAINTIFF’S RESPONSE TO DEFENDANT DARALDIK’S MOTION TO
                             DISMISS
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                           INTRODUCTION
     The Student Senate of Florida State University (“the University” or

“FSU”) removed Jack Denton from his position as Student Senate

President in retaliation for his constitutionally-protected speech.

Defendant Ahmad Daraldik presided over Denton’s removal and brought

the motion to remove Denton to the floor for a vote, breaching his duty to

find that the motion was out of order because it violated Student Senate
rules and the Constitution of the United States.

     This Court held that Denton was likely to succeed on his free speech

retaliation claim since “Denton’s removal was because of his speech” and
“those participating in the political process do not forfeit their First

Amendment freedoms.” Doc. 55 at 15–16. Denton subsequently won an

order of reinstatement to his position from the FSU Student Supreme
Court. See Doc. 59-1 at 19. Defying the holdings of this Court and the

Student Supreme Court, Daraldik took additional acts enforcing the

Student Senate’s original, unconstitutional removal of Denton. See

Amended Complaint, Doc. 69 at ¶¶210–215, 228. Denton filed an

Amended Complaint detailing these additional violations. See id.

     Daraldik filed a motion to dismiss the Amended Complaint urging

that Denton has failed to allege enough facts to show that Daraldik was

a state actor and that he was responsible for the unconstitutional acts.

But Daraldik relies on inapposite, out-of-circuit caselaw and fails to

mention this Court’s opinion finding that the Student Senate is a state

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actor. Compare Doc. 55 at 9–10 (finding state action by the student

government and the administration) with Doc. 75 at 3–5 (claiming no

state action by Daraldik without addressing the Court’s opinion).

Daraldik also contends that he is entitled to qualified immunity. But his

unlawful acts enforcing Denton’s removal occurred after this Court had

already found that Denton was likely to succeed on his claim that the

removal was unconstitutional. In other words, Daraldik claims he

violated no “clearly established” law when he enforced the same

unconstitutional act that this Court already had enjoined the University

from enforcing.
     Denton alleges enough facts that, taken as true, establish

Daraldik’s liability. Therefore, the Court should deny Defendant’s

motion.

                  MOTION TO DISMISS STANDARD
     On a motion to dismiss, this Court must take the “factual
allegations in the complaint as true and construe them in the light most

favorable to [Denton].” Edwards v. Prime Inc., 602 F.3d 1276, 1291 (11th

Cir. 2010). The Court must construe the Amended Complaint “broadly,”
because a complaint is sufficient when it contains “‘enough factual matter

. . . to suggest’ the required element.” Watts v. Fla. Int’l Univ. 495 F.3d

1289, 1295 (11th Cir. 2007) (quoting Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 556 (2007)).



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       The Court may only dismiss the Amended Complaint if “the facts

as pled do not state a claim for relief that is plausible on its face.”

Edwards, 602 F.3d at 1291 (citations omitted). “Plausible” means

“plausible grounds to infer,” not a “probability requirement.” Twombly,

550 U.S. at 556. A complaint need only allege “enough fact to raise a

reasonable expectation that discovery will reveal evidence of” liability.

Id. Denton’s Amended Complaint easily satisfies this standard.

                               ARGUMENT

       The Amended Complaint alleges sufficient facts to show that

Daraldik was a state actor and that he personally violated Denton’s

rights. In addition, Daraldik is not entitled to qualified immunity because

the rights he violated were “clearly established” at the time he violated

them. See Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

I.    The Amended Complaint sufficiently alleges that Daraldik’s
      actions were state action.
       Daraldik contends that the Amended Complaint fails to allege state

action by Daraldik. See Doc. 75 at 3–5. That argument ignores Denton’s

allegations, relies on out-of-circuit precedent, ignores Eleventh Circuit
precedent, and fails to engage this Court’s opinion that addressed the

state action issue.

     A. The Amended Complaint alleges specific acts Daraldik
        undertook as a state actor.
       Daraldik claims that “Plaintiff’s Complaint seeks to impose § 1983

liability on Daraldik not due to any affirmative acts he individually took

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. . . but, rather, for the sole fact that this individual is a figure-head of the

Student Senate . . . .” Doc. 75 at 3.

      Not so. Denton’s claims against Daraldik all arise from Daraldik’s

personal acts in violation of his legal duties. Denton’s allegations satisfy

the standard for liability under § 1983, which “requires proof of an

affirmative causal connection between the official's acts or omissions and

the alleged constitutional deprivation.” Zatler v. Wainwright, 802 F.2d

397, 401 (11th Cir. 1986). “A causal connection may be established by

proving that the official was personally involved in the acts that resulted

in the constitutional deprivation.” Id. All of Denton’s claims against
Daraldik are for acts which Daraldik directly committed and in which he

“was personally involved.” Id.

      Denton identified many specific acts that Daraldik undertook
before this Court granted in part Denton’s motion for preliminary

injunction. In particular, Denton alleges the following:

          When Daraldik presided over the Student Senate, he had a

            duty to find unlawful or improper motions out of order and not

            allow them to go to the floor. Doc. 69 at ¶¶41, 113.

          Daraldik had used that power to find motions out of order on
            other occasions. Id. at ¶114.

          Daraldik had a duty to find the discriminatory motion of no-

            confidence against Denton out of order and that he breached
            this duty. Id. at ¶¶116–117.

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         Daraldik enforced a de facto religious test for office in the

           Student Senate against Denton. Id. at ¶¶117–18.

         Daraldik acted unlawfully by continuing to exercise the office

           of Student Senate President and maintaining records relating

           to Denton’s unconstitutional removal. Id. at ¶124.

         Daraldik unlawfully obstructed the confirmation of justices to

           prevent Denton from appealing his unconstitutional removal

           by referring nominations to the Student Senate Judiciary

           Committee in breach of Student Body Statutes. Id. at ¶150.

     Denton also alleges that all Defendants took additional unlawful
acts to enforce Denton’s unconstitutional removal, even after this Court

found Denton was likely to succeed on his claims. Respecting Daraldik,

the Amended Complaint alleges in particular:
         Daraldik continued to enforce Denton’s unconstitutional

           removal by maintaining that he was the Student Senate

           President even after the Student Supreme Court ordered him

           to reinstate Denton. Id. at ¶¶211–12, 276, 280, 292, 296, 307,

           311.

         Daraldik unlawfully continued to maintain that he was the
           Student Senate President by invoking Student Senate Rule of

           Procedure 2.2 which allows “any senator to assume the chair

           temporarily,” when he allowed Denton to preside over the



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           Student Senate after the Student Supreme Court ordered

           Denton’s reinstatement. Id. at ¶213, n.13.

         Denton objected at the time that Daraldik unlawfully

           maintained that he was still the Student Senate President,

           but Daraldik ignored his objection. Id. at ¶214.

         Daraldik unlawfully maintained that he was the Student

           Senate President until the expiration of his term. Id. at ¶228.

         Daraldik had knowledge at the time of all these acts that

           Denton’s original removal was unconstitutional. Id. at ¶239.

         Daraldik knew at the time that additional acts to enforce
           Denton’s unconstitutional removal would contravene this

           Court’s Order granting in part Denton’s motion for

           preliminary injunction. Id. at ¶240.
         By    obstructing   Denton’s    full,   effective   reinstatement,

           Daraldik “prevent[ed] him from vindicating his rights before

           the expiration of his rightful term.” Id. at ¶238.

Denton’s claims do not target Daraldik as a “figure-head of the Student

Senate.” Doc. 75 at 3. Rather, they identify specific acts that Daraldik

undertook through his power as presiding officer in breach of his official
duties and in deprivation of Denton’s legal rights. These allegations

establish the personal liability of a state actor under § 1983. See Zatler,

802 F.2d at 401.



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  B. The Amended Complaint alleges facts to show that
     Daraldik’s actions were state action.
     Daraldik claims his acts were not state action because “‘student

members of a student government organization are not state actors in

the absence of allegations that college officials “coerced or encouraged”

the alleged acts of the students.’” Doc. 75 at 3 (quoting Dharod v. Los

Angeles City Coll., 2011 WL 3555622, at *6 (C.D. Cal. June 7, 2011)). That

rule is inapplicable for two reasons.
     First, the rule is not Eleventh Circuit or Florida law. Daraldik

never cites Eleventh Circuit precedent or this Court’s analysis in its

October 8 Order addressing state action. As this Court noted, the
Eleventh Circuit “affirm[ed a] judgment that noted student government

‘was a state actor subject to the same constitutional restrictions as the

University itself.’” Doc. 55 at 9 (quoting Ala. Student Party v. Student
Gov’t Ass’n of the Univ. of Ala., 867 F.2d 1344, 1345 (11th Cir. 1989)).

Florida law and many other cases surveyed by this Court also show that

the Student Senate at Florida State engages in state action and is subject

to constitutional restrictions. “The student senate—like all of FSU’s

student government—is a creature of state statute.” Doc. 55 at 9. As a

matter of law, the “student government is a part of the university at

which it is established.” Fla. Stat. § 1004.26(1). Other courts have found

that student governments are state actors. See Koala v. Khosla, 931 F.3d

887, 894 & n.1, 904 (9th Cir. 2019); Flint v. Dennison, 488 F.3d 816, 825



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(9th Cir. 2007); Gay & Lesbian Students Ass’n v. Gohn, 850 F.2d 361,

365–66 (8th Cir. 1988).

     Daraldik addresses none of these cases, which this Court cited

favorably. Compare Doc. 55 at 9–10 (citing all these cases) with Doc. 75

at 3–5 (claiming no state action but citing none of these cases or this

Court’s Order). The Amended Complaint alleges facts showing that

Daraldik was a state actor under these precedents. See Doc. 69 at ¶¶22–

25 (SGA part of University Department and acts subject to review), 31

(SGA operated by University as an educational benefit), 35–39 (SGA

created by Florida state law and required to comply with the United
States Constitution), 40–41 (Daraldik required to follow all applicable

law as presiding officer of the Student Senate).

     Second, the cases Daraldik cites do not apply. Dharod addressed a
community college in Los Angeles. The Plaintiff in that case failed to

“allege any facts that plausibly suggest that the Student Defendants

were acting under color of state law or that the contested actions of the

Student Defendants were fairly attributable to the government.” 2011

WL 3555622, at *6.

     The test the Dharod court applied, and attributed to the Second
Circuit, is that “student members of a student government organization

are not state actors in the absence of allegations that college officials

‘coerced or encouraged’ the alleged acts of the students.” Id. (quoting
Husain v. Springer, 494 F.3d 108, 134–35 (2d Cir. 2007)). But the test the

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Husain court articulated was to determine whether a “private individual

may be treated as a state actor for purposes of a constitutional

challenge . . . .” Id. at 134 (emphasis added).

     In a more recent case which Daraldik’s motion does not address, the

Ninth Circuit held that a plaintiff sufficiently pled that the defendant

student government and its officers were state actors. See Koala, 931

F.3d at 894 n.1 (stating that plaintiff “pleads the requisite state action

for each of The Koala's First Amendment claims”). The court agreed that

the student government was a state actor because “the Associated

Students are official units of the University,” and did not mention Dharod
or apply the “coerced or encouraged” test from Husain. Id. (quotation

omitted).

     Here, as in Koala, the Student Senate is a state actor by virtue of
its creation in state law and its status as a “part” of the University. Fla.

Stat. § 1004.26(1). When Daraldik presided over the Student Senate, he

was a state actor too. See Powell v. McCormack, 395 U.S. 486, 504 (1969)

(the “legislative [officials] who participate[] in the unconstitutional

activity are responsible for their acts”). Therefore, Daraldik’s reliance on

Dharod—which was not followed by later Ninth Circuit precedent and
applied a test for determining when private actors may be deemed state

actors—is inapplicable to this case, where Daraldik was an officer of a

body that is a de jure state actor.



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     Daraldik also relies on Fla. A & M Univ. Bd. of Trustees v. Bruno,

198 So.3d 1040, 1044–45 (Fla Dist. Ct. App. 2016) which observed that

“student   government      is   an   extracurricular    activity—not     real

government—and it is well-settled that students have no constitutionally

protected right to participate in extracurricular activities.” See Doc. 75 at

4. Bruno had nothing to do with determining whether a student

government engages in state action. In any event, even though a student

has no freestanding right to participate in the activity, just as no citizen

has a right to be elected to a “real government,” a student does have a

right to be free from unconstitutional retaliation once he is elected, just
as an elected representative may not be expelled from a state house of

representatives for his exercise of constitutional rights. See Doc. 55 at 16

(citing Bond v. Floyd, 385 U.S. 116, 137 (1966)).
     Denton properly alleges that the Student Senate is a state actor and

that Daraldik took specific actions as a state actor that violated Denton’s

rights.

II. The Amended Complaint sufficiently alleges facts to state a
    claim against Daraldik.
     Daraldik also claims that Denton fails to state a claim generally.

See Doc. 75 at 15–17. Daraldik complains about the number of times that

he was mentioned by name in the Amended Complaint and asserts that
the “Complaint does not successfully indicate, from a factual standpoint,

what Daraldik did wrongfully.” Id. at 16–17.


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     The Amended Complaint details numerous specific acts by

Daraldik in deprivation of Denton’s rights. See supra Part I.A.

Notwithstanding those allegations, Daraldik points to the Amended

Complaint’s “Allegations of Law” section, which, according to Daraldik,

is “replete . . . with references as to how the ‘Student Senate’ allegedly

wronged Plaintiff” but is light on allegations about Daraldik’s

involvement in the Student Senate’s wrongs. Id. at 16.

     That ignores allegations about Daraldik’s leadership of the Student

Senate, especially his power and duty respecting motions raised by

senators. Denton alleges that Daraldik is personally responsible for the
wrongs of the Student Senate because he used his power to allow

unlawful and improper motions to go to the floor for a vote. Denton

alleges that Daraldik had the power and duty to follow the Rules of the
Senate and the United States Constitution. Doc. 69 at ¶41. Denton

alleges that Daraldik exercised this power and duty on other occasions to

prevent some motions which he deemed to be out of order from going to

the floor for a vote. Id. at ¶114. Denton alleges that the “Student Senate’s

rules expressly prohibit motions of no-confidence for any purpose that

would result in a violation of the Senate Conduct Code.” Id. at ¶111.
Denton alleges that the motion of no confidence against him contravened

this rule. Id. at ¶115. Denton alleges that Daraldik therefore had the

power and the duty to find the motion of no-confidence against him out



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of order and to keep the motion from going to the floor for a vote. Id. at

¶116. Denton alleges that Daraldik breached this duty. Id. at ¶117.

     In short, Denton alleges that Daraldik had the duty and the power

to unilaterally prevent every harm that the Student Senate as a whole

imposed upon Denton. Denton squarely alleges that Daraldik is

responsible for these harms because, but for Daraldik’s decision to allow

the motions to go to the floor for a vote, none of the motions against

Denton could have been approved by the body. Denton squarely alleges

“an affirmative causal connection” between particular acts taken by

Daraldik as presiding officer of the Student Senate and the harms he
suffered. Zatler, 802 F.2d at 401. These allegations, in addition to the acts

described in detail in Part I.A above, contain more than “‘enough factual

matter . . . to suggest’ the required element[s]” of Denton’s claims. Watts
v. Fla. Int’l Univ. 495 F.3d 1289, 1295 (11th Cir. 2007) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). Therefore, Denton

has plead sufficient facts to state a claim against Daraldik.

III. Daraldik is not entitled to qualified immunity.
     Daraldik is not entitled to qualified immunity because his acts

breached Denton’s “clearly established” rights at the time he acted. See

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Denton’s rights to be free

from retaliation for his speech and hostility toward his religious beliefs

were clearly established in any event. But Daraldik went even further,
continuing to enforce Denton’s unconstitutional removal even after this

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Court put him on direct notice about the applicable, clearly established

constitutional rights.

  A. Denton alleges that Daraldik’s acts presiding over,
     furthering, and enforcing Denton’s removal violated
     clearly established law.
     To overcome qualified immunity, a plaintiff must show that

defendant “violated a constitutional right” that “was clearly established

at the time of the violation.” Holloman v. Harland, 370 F.3d 1252, 1264

(11th Cir. 2004). The “clearly established” standard does not require

defendant’s acts to be “materially similar to prior precedent” or already

declared unconstitutional. Id. at 1277–78. Rather, when “in the light of
preexisting law, the unlawfulness [is] apparent,” there is no qualified

immunity. Shephard v. Davis, 300 F. App’x 832, 839 (11th Cir. 2008).

Such preexisting law includes a “broader, clearly established principle”
that, applied to the official’s conduct, demonstrates liability. Keating v.

City of Miami, 598 F.3d 753, 766 (11th Cir. 2010). Consequently, “officials

can still be on notice that their conduct violates established law even in

novel factual circumstances.” Hope v. Pelzer, 536 U.S. 730, 741 (2002).

     Denton’s clearly established rights were violated because the direct

application of well-settled precedent demonstrates the unlawfulness of
Daraldik’s acts. This is true of Denton’s free speech retaliation claim. See

Bennett v. Hendrix, 423 F.3d 1247, 1255 (11th Cir. 2005) (“This Court and

the Supreme Court have long held that state officials may not retaliate
against private citizens because of the exercise of their First Amendment

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rights.”). This is true of Denton’s content and viewpoint discrimination

claim. See Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S.

819, 828 (1995) (“It is axiomatic that the government may not regulate

speech based on its substantive content or the message it conveys.”) And

this is true of Denton’s free exercise hostility claim. See Masterpiece

Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1731 (2018)

(government officials “cannot act in a manner that passes judgment upon

or presupposes the illegitimacy of religious beliefs and practices”);

Church of Lukumi Babalu Aye v. Hialeah, 508 U.S. 520, 534 (1993)

(quotations omitted) (“The [Free Exercise] Clause forbids subtle
departures from neutrality and covert suppression of particular religious

beliefs.”).

      These principles apply to student governments. Ala. Student Party,
867 F.2d at 1345 (agreeing “that the SGA was a state actor subject to the

same constitutional restrictions as the University itself”). And they apply

to members of a legislature. Bond, 385 U.S. at 137; Wilson v. Houston

Cmty. Coll. Sys., 955 F.3d 490, 498 (5th Cir. 2020) (“elected officials are

entitled to be free from retaliation for constitutionally protected speech”).

As this Court stated (citing several of these cases), “[a]s these cases show,
those participating in the political process do not forfeit their First

Amendment freedoms (including the right to be free from First

Amendment retaliation).” Doc. 55 at 16.



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     Daraldik relies on Siddique v. Lailiberte, 972 F.3d 898 (7th Cir.

2020) to claim that none of Denton’s rights were clearly established. See

Doc. 75 at 10–12. But Siddique addressed claims that Denton has not

raised. The Plaintiff in Siddique sued because he did not receive an

appointment to a temporary position in the student government. 972 F.3d

at 900. The district court found qualified immunity because “it

determined federal law had not clearly established the narrower right of

a student to participate in student government under all circumstances.”

Id. at 902. Only on appeal did Siddique “pursue a public-employment

theory of his case.” Id. at 903. The court observed, “Siddique's reliance on
a public-employment theory of retaliation in the clearly established

portion of his briefing is puzzling in light of the fact that Siddique later

disavows the idea that he was an employee of the University.” Id.
     Denton has not raised a novel theory of entitlement to discretionary

appointments in student government. Rather, he alleges, and this Court

held that he was likely to succeed in showing, that “His claim is that he

lost his job—his student government position—because he chose to

exercise his First Amendment rights.” Doc. 55 at 16. “[I]t [is not] an

answer to say, as [Defendant] does,” in his invocation of Siddique, “that
nobody has a constitutional right to serve in student government. That

may be true, but that is not the issue.” Id. at 17. Rather, the Amended

Complaint alleges that “Denton was serving in student government, and
he had a constitutional right not to have that taken away from him based

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on his privately expressing his religious views.” Id. (emphasis in

original).

      The principles prohibiting retaliation against speech and hostility

toward free exercise of religion by the state against employees are clearly

established. When Daraldik presided over discriminatory motions to

remove Denton from his job because of his religious speech (prohibited by

the rules of his own body), allowed them to proceed to the floor, and

enforced those motions once they carried, he violated Denton’s clearly

established rights. Daraldik is not entitled to qualified immunity.

   B. Denton alleges that Daraldik’s acts after this Court
      preliminarily enjoined University officials violated clearly
      established law.
      To make matters worse, Daraldik undertook additional acts to

enforce Denton’s removal even after he was on notice that the specific
acts in question—the Student Senate’s discriminatory removal of Denton

and the subsequent enforcement of that removal—were unconstitutional.

See supra Part I.A. Daraldik has claimed that “[t]o deny Daraldik

qualified immunity, Plaintiff suggests a young student, participating in

an extra-curricular activity, should be akin to a constitutional scholar-

this position lacks merit.” Doc. 75 at 10. Quite the opposite is true: with
a ruling from this Court in one hand and an order from the Student

Supreme Court to reinstate Denton in the other, Daraldik continued

violating Denton’s rights and enforcing the original unconstitutional
removal.

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     Daraldik insisted that he was still the president even after he was

ordered to reinstate Denton. Doc. 69 at ¶211. Daraldik cannot claim that

the fact that he appealed the Student Supreme Court’s order to

Defendant Hecht justifies his continued assertion of authority. As the

Amended Complaint alleges, Chief Justice Ducey explained to Defendant

Bowden that the Student Supreme Court’s order was effective

immediately and not stayed pending appeal (just as Denton was removed

immediately despite his own appeal to Hecht). Id. at ¶ 208. Yet Bowden

agreed when Daraldik continued enforcing the original unconstitutional

removal, over Denton’s contemporaneous objection, and endorsed
Daraldik’s claim that he was still Student Senate President. Id. at

¶¶211–14.

     Daraldik cannot claim that his decision to allow Denton to preside
over some senate meetings absolves him of his unconstitutional attempt

to maintain the presidency. While Denton did in fact preside over the

meetings, Denton alleges that Daraldik claimed he was still the president

and only allowed Denton to preside by virtue of his authority as president

to allow “any senator” to assume the chair. Id. at ¶213 & n.13. Daraldik

effectively maintained that he was still Student Senate President but
that Denton was presiding at his pleasure, undermining Denton’s ability

to serve the remainder of the term to which he was entitled. Id. at ¶238.

     All of Daraldik’s acts violated Denton’s clearly established rights,
but Daraldik enjoyed a degree of clarity that officials seldom do: an

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opinion by a court in an ongoing dispute stating Denton’s likely success

on the merits on claims arising from the same facts. Yet Daraldik

continued to enforce Denton’s unconstitutional removal in contradiction

to this Court’s order, and obstructed Denton from exercising the

remainder of his term as ordered by the Student Supreme Court.

Daraldik is not entitled to qualified immunity for any of his unlawful

acts.

                              CONCLUSION

   For the reasons above, this Court should deny Daraldik’s Motion to

Dismiss.

        Respectfully submitted on the 25th day of March, 2021.

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                     CERTIFICATE OF COMPLIANCE

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